 USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023   Page: 1 of 41
                                  No. 23-12155


                    IN THE UNITED STATES COURT OF APPEALS
                        FOR THE ELEVENTH CIRCUIT
                            ____________________

                             AUGUST DEKKER, et al.,

                                               Plaintiffs-Appellees

                                         v.

 SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION,
                            et al.,

                                            Defendants-Appellants
                              ____________________

         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       ____________________

  BRIEF FOR THE UNITED STATES AS AMICUS CURIAE IN SUPPORT OF
          PLAINTIFF-APPELLEES AND URGING AFFIRMANCE
                       ____________________

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 USCA11 Case: 23-12155       Document: 85       Date Filed: 12/04/2023   Page: 2 of 41
   Dekker v. Secretary, Florida Agency for Health Care Admin., No. 23-12155

              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rules 26.1-1 to 26.1-3 and 28-1(b), counsel for

amicus curiae United States hereby certifies that in addition to those identified in

the briefs filed by appellants and plaintiffs-appellees, the following individuals

have an interest in the outcome of this case:

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                                       C-1 of 2
 USCA11 Case: 23-12155    Document: 85   Date Filed: 12/04/2023   Page: 3 of 41
   Dekker v. Secretary, Florida Agency for Health Care Admin., No. 23-12155

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Date: December 4, 2023




                                   C-2 of 2
 USCA11 Case: 23-12155                Document: 85            Date Filed: 12/04/2023             Page: 4 of 41



                                      TABLE OF CONTENTS

                                                                                                           PAGE

CERTIFICATE OF INTERESTED PERSONS AND
CORPORATE DISCLOSURE STATEMENT .................................................... C-1

INTEREST OF THE UNITED STATES ................................................................. 1

STATEMENT OF THE ISSUES.............................................................................. 1

STATEMENT OF THE CASE ................................................................................. 3

        A.      The Medicaid Program And Relevant Medicaid Requirements ........... 3

        B.      Florida’s Coverage Exclusions For “Treatment Of Gender
                Dysphoria” And “Sex-Reassignment Prescriptions
                Or Procedures” ......................................................................................6

        C.      Procedural History................................................................................. 9

SUMMARY OF ARGUMENT ...............................................................................13

ARGUMENT

        I.      The district court correctly held that the challenged coverage
                exclusions violate the Medicaid statute. ..............................................14

                A.       The challenged coverage exclusions violate Medicaid’s
                         EPSDT requirement. .................................................................15

                B.       The challenged coverage exclusions violate Medicaid’s
                         comparability requirement. .......................................................18

        II.     The district court correctly held that the challenged
                coverage exclusions violate Section 1557 of the ACA. ......................20

                A.       The challenged exclusions facially discriminate on
                         the basis of sex. .........................................................................21
 USCA11 Case: 23-12155                 Document: 85             Date Filed: 12/04/2023           Page: 5 of 41



TABLE OF CONTENTS (continued):                                                                             PAGE

                  B.       The challenged exclusions discriminate based on
                           sex by targeting transgender persons. .......................................23

                  C.       The district court’s Section 1557 holding is not at odds
                           with Eknes-Tucker or Adams. ...................................................24

         III.     If the Court reaches the equal-protection issue, it should
                  remand for additional factfinding on whether SB254 was
                  enacted with a discriminatory purpose. ...............................................27

CONCLUSION ....................................................................................................... 30

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE




                                                       - ii -
 USCA11 Case: 23-12155               Document: 85             Date Filed: 12/04/2023        Page: 6 of 41



                                     TABLE OF CITATIONS

CASES:                                                                                               PAGE

A.C. v. Metropolitan Sch. Dist. of Martinsville, 75 F.4th 760 (7th Cir. 2023),
      pet. for cert. pending, No. 23-392 (filed Oct. 11, 2023) ......................... 22-23

Adams v. School Bd. of St. Johns Cnty.,
     57 F.4th 791 (11th Cir. 2022) (en banc) ............................................ 11, 26-28

Alexander v. Choate, 469 U.S. 287 (1985) ................................................................4

* Bostock v. Clayton Cnty., 140 S. Ct. 1731 (2020) ........................................ passim

Boyden v. Conlin, 341 F. Supp. 3d 979 (W.D. Wis. 2018) .....................................21

Collins v. Hamilton, 349 F.3d 371 (7th Cir. 2003) ..................................................16

Cooper v. Harris, 581 U.S. 285 (2017) ...................................................................28

Curtis v. Taylor, 625 F.2d 645 (5th Cir. 1980) ..........................................................3

Davis v. Shah, 821 F.3d 231 (2d Cir. 2016) ............................................................19

Doe v. Boyertown Area Sch. Dist., 897 F.3d 518 (3d Cir. 2018) ............................25

Doe v. CVS Pharm., Inc., 982 F.3d 1204 (9th Cir. 2020)........................................21

Douglas v. Independent Living Ctr. of S. Cal., Inc., 565 U.S. 606 (2012) ................3

Eknes-Tucker v. Governor of Ala., 80 F.4th 1205 (11th Cir. 2023),
      pet. for reh’g en banc pending (filed Sept. 11, 2023) ............................. 24-28

Fain v. Crouch, 618 F. Supp. 3d 313 (S.D. W. Va. 2022),
      appeal pending, No. 22-1927 (4th Cir. docketed Sept. 6, 2022),
      reh’g en banc granted (4th Cir. Apr. 12, 2023)
      (argued Sept. 21, 2023)........................................................................... 19, 21

Fils v. City of Aventura, 647 F.3d 1272 (11th Cir. 2011) ........................................29


                                                    - iii -
 USCA11 Case: 23-12155               Document: 85           Date Filed: 12/04/2023         Page: 7 of 41



CASES (continued):                                                                                  PAGE

Flack v. Wisconsin Dep’t of Health Servs.,
      395 F. Supp. 3d 1001 (W.D. Wis. 2019) ........................................... 18-19, 21

Fletcher v. Alaska, 443 F. Supp. 3d 1024 (D. Alaska 2020) ...................................21

Franklin v. Gwinnett Cnty. Pub., Schs., 503 U.S. 60 (1992) ...................................25

Fuhr v. Hazel Park Sch. Dist., 710 F.3d 668 (6th Cir. 2013) ..................................25

* Garrido v. Dudek, 731 F.3d 1152 (11th Cir. 2013) ................................ 4-5, 18, 20

Glenn v. Brumby, 663 F.3d 1312 (11th Cir. 2011) ........................................... 10, 23

Grabowski v. Arizona Bd. of Regents, 69 F.4th 1110 (9th Cir. 2023) .....................25

Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020),
     cert. denied, 141 S. Ct. 2878 (2021)..............................................................23

Katie A. v. Los Angeles Cnty., 481 F.3d 1150 (9th Cir. 2007) ............................5, 15

Lakoski v. James, 66 F.3d 751 (5th Cir. 1995) ........................................................25

Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57 (1986) ..........................................25

* Moore v. Reese, 637 F.3d 1220 (11th Cir. 2011) .............................................4, 15

Olmstead v. L.C., 527 U.S. 581 (1999) .............................................................. 24-25

Pediatric Specialty Care, Inc. v. Arkansas Dep’t of Human Servs.,
      293 F.3d 472 (8th Cir. 2002) .........................................................................16

Pereira v. Kozlowski, 996 F.2d 723 (4th Cir. 1993) ................................................16

Pinneke v. Preisser, 623 F.2d 546 (8th Cir. 1980) ..................................................19

Pullman-Standard v. Swint, 456 U.S. 273 (1982) ...................................................28

Rogers v. Lodge, 458 U.S. 613 (1982).....................................................................28
                                                   - iv -
 USCA11 Case: 23-12155                  Document: 85            Date Filed: 12/04/2023             Page: 8 of 41



CASES (continued):                                                                                           PAGE

* Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980)............................................ 11, 16

S.D. v. Hood, 391 F.3d 581 (5th Cir. 2004) .............................................................16

Vengalatorre v. Cornell Univ., 36 F.4th 87 (2d Cir. 2022) .....................................25

Weaver v. Reagen, 886 F.2d 194 (8th Cir. 1989) ....................................................16

Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,
     858 F.3d 1037 (7th Cir. 2017) .......................................................................22

White v. Beal, 555 F.2d 1146 (3d Cir. 1977) ...........................................................20

Wolfe v. Fayetteville, Ark. Sch. Dist., 648 F.3d 860 (8th Cir. 2011) .......................25

STATUTES:

Affordable Care Act
      42 U.S.C. 18116...........................................................................................1, 3
      42 U.S.C. 18116(a) ................................................................................. 21, 25

Medicaid Act
     42 U.S.C. 1395hh.............................................................................................1
     42 U.S.C. 1396.................................................................................................3
     42 U.S.C. 1396a(a)(10)................................................................................ 2-5
     42 U.S.C. 1396a(a)(17)..................................................................................16
     42 U.S.C. 1396d(a) ....................................................................................5, 15
     42 U.S.C. 1396d(a)(5)(A) ................................................................................5
     42 U.S.C. 1396d(a)(12) ...................................................................................5
     42 U.S.C. 1396d(r)(5) ................................................................................5, 15

20 U.S.C. 1681 .................................................................................................. 20, 25

42 U.S.C. 2000e-2(a)(1)...........................................................................................25

42 U.S.C. 2000h-2......................................................................................................2

Fla. Stat. § 286.311(2) (2023) .......................................................................... passim
                                                         -v-
 USCA11 Case: 23-12155                  Document: 85             Date Filed: 12/04/2023            Page: 9 of 41



STATUTES (continued):                                                                                         PAGE

Fla. Stat. § 409.905 (2023)............................................................................. 6, 19-20

Fla. Stat. § 409.905(9) (2023) ....................................................................................6

Fla. Stat. § 409.906 (2023)................................................................................. 19-20

Fla. Stat. § 409.906(20) (2023) ..................................................................................6

Fla. Stat. § 456.001 (2023)...................................................................................9, 22

REGULATIONS:

42 C.F.R. 430.15(b) ...................................................................................................1

42 C.F.R. 440.230(c)......................................................................................... 12, 18

42 C.F.R. 440.230(d) ...........................................................................................4, 19

42 C.F.R. 440.240(b) ...............................................................................................18

87 Fed. Reg. 47,916 (proposed Aug. 4, 2022) .........................................................26

Exec. Order No. 12,250, § 1-201, 3 C.F.R. 298 (1980 comp.)..................................2

Exec. Order No. 13,988, § 1, 86 Fed. Reg. 7023 (Jan. 20, 2021)..............................2

Fla. Admin. Code r. 59G-1.050(7) (2022) ....................................................... passim

REGULATIONS:

Centers for Medicare & Medicaid Servs., State Medicaid Manual,
      available at https://perma.cc/DJR3-56JK ........................................................4




                                                        - vi -
USCA11 Case: 23-12155        Document: 85      Date Filed: 12/04/2023    Page: 10 of 41



                     INTEREST OF THE UNITED STATES

      This case challenges a Florida administrative rule and state statute that, in

2022, withdrew Medicaid coverage for certain medical care for all transgender,

Medicaid-eligible Floridians, both adults and adolescents. The treatments at

issue—puberty-delaying medications and hormone therapies—were previously

covered by Florida’s Medicaid program. Except when used by transgender people

to treat gender dysphoria, those medications remain covered. Following a bench

trial, the district court held that these exclusions violate the Medicaid statute,

Section 1557 of the Affordable Care Act (ACA), and the Equal Protection Clause,

and issued a permanent injunction.

      The United States has a strong interest in States’ compliance with

Medicaid’s requirements. Congress directed the Secretary of Health and Human

Services (HHS) to issue regulations implementing the Medicaid program, 42

U.S.C. 1395hh, and within HHS, the Centers for Medicare & Medicaid Services

(CMS) oversees States’ compliance with Medicaid requirements. 42 C.F.R.

430.15(b). The United States also protects the rights of individuals seeking

nondiscriminatory access to health programs and activities under Section 1557, 42

U.S.C. 18116. Congress authorized the Secretary of HHS to promulgate

regulations implementing Section 1557’s nondiscrimination requirements. 42

U.S.C. 18116(c). And the Department of Justice coordinates and implements
USCA11 Case: 23-12155          Document: 85      Date Filed: 12/04/2023   Page: 11 of 41



federal laws that protect individuals from discrimination on the basis of sex in a

wide range of federally funded programs, including health coverage. Exec. Order

No. 12,250, § 1-201, 3 C.F.R. 298 (1980 comp.).

         The United States also has a strong interest in protecting the rights of

individuals who are lesbian, gay, bisexual, transgender, and intersex. The

President issued an Executive Order recognizing the right of all people to be

“treated with respect and dignity” and receive “equal treatment” regardless of

gender identity or sexual orientation. Exec. Order No. 13,988, § 1, 86 Fed. Reg.

7023 (Jan. 20, 2021). Congress also authorized the Attorney General to intervene

in cases brought under the Fourteenth Amendment to vindicate sex-based denials

of equal protection of the laws. See 42 U.S.C. 2000h-2.

         The United States files this brief under Federal Rule of Appellate Procedure

29(a).

                           STATEMENT OF THE ISSUES

The United States addresses the following questions:

         1. Whether the district court correctly held that Florida’s challenged

coverage exclusions violate the Medicaid statute’s comparability requirement, 42

U.S.C. 1396a(a)(10)(B)(i), as well as its requirement that States cover early and

periodic screening, diagnostic, and treatment services for certain Medicaid-eligible




                                           -2-
USCA11 Case: 23-12155       Document: 85      Date Filed: 12/04/2023   Page: 12 of 41



beneficiaries under age 21, 42 U.S.C. 1396a(a)(10)(A), 1396a(a)(43)(C),

1396d(a)(4)(B), and 1396d(r).

      2. Whether the district court correctly held that the challenged coverage

exclusions discriminate on the basis of sex in violation of Section 1557 of the

ACA, 42 U.S.C. 18116.

      3. Whether this Court, if it reaches plaintiffs’ equal-protection claim, should

remand for further factfinding regarding whether Florida’s statutory coverage

exclusion was enacted in part with a discriminatory purpose.

                         STATEMENT OF THE CASE

      A.     The Medicaid Program And Relevant Medicaid Requirements

      1. The Medicaid program, established in 1965 by Title XIX of the Social

Security Act, 42 U.S.C. 1396 et seq., is a cooperative federal-state program that

provides medical assistance to individuals of all ages whose income and resources

are insufficient to pay for necessary medical care. 42 U.S.C. 1396-1; see Douglas

v. Independent Living Ctr. of S. Cal., Inc., 565 U.S. 606, 610 (2012). The

Medicaid statute and its implementing regulations “prescribe[] substantive

requirements governing the scope of each state’s program.” Curtis v. Taylor, 625

F.2d 645, 649 (5th Cir. 1980). Subject to these requirements, States “devise and

fund their own medical assistance programs . . . and the federal government




                                        -3-
USCA11 Case: 23-12155       Document: 85       Date Filed: 12/04/2023   Page: 13 of 41



provides partial reimbursement.” Moore v. Reese, 637 F.3d 1220, 1232 (11th Cir.

2011) (citing 42 U.S.C. 1396b(a), 1396d(b)).

      Although participation in Medicaid is voluntary, States that opt to participate

must comply with federal statutory and regulatory requirements. Alexander v.

Choate, 469 U.S. 287, 289 n.1 (1985); Garrido v. Dudek, 731 F.3d 1152, 1153-

1154 (11th Cir. 2013). The Medicaid statute requires participating States to cover

certain health services for eligible beneficiaries, including physician services. 42

U.S.C. 1396a(a)(10)(A), 1396d. But it allows States to “place appropriate limits”

on covered care based on “such criteria as medical necessity or on utilization

control procedures.” 42 C.F.R. 440.230(d); see also Garrido, 731 F.3d at 1154;

Moore, 637 F.3d at 1232-1233.

      2. Two Medicaid requirements are at issue in this case: the statute’s early

and periodic screening, diagnostic and treatment services (EPSDT) requirement

and its comparability requirement.

      Medicaid’s EPSDT requirement mandates coverage of certain medical care

for eligible beneficiaries under age 21. 42 U.S.C. 1396a(a)(10)(A),

1396a(a)(43)(C), 1396d(a)(4)(B), 1396d(r). Its purpose is to “[a]ssure that health

problems are diagnosed and treated early, before they become more complex and

their treatment more costly.” Centers for Medicare & Medicaid Servs., State

Medicaid Manual § 5010.B, available at https://perma.cc/DJR3-56JK. As a result

                                         -4-
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023    Page: 14 of 41



of the EPSDT requirement, States must cover medical, vision, dental, and hearing

screening services. 42 U.S.C. 1396a(a)(10)(A), 1396a(a)(43)(C),1396d(a)(4)(B),

1396d(r)(1)-(4).

      Under EPSDT’s catch-all provision, States must cover “[s]uch other

necessary health care, diagnostic services, treatment, and other measures described

in [1396d(a)] to correct or ameliorate defects and physical and mental illnesses and

conditions discovered by the screening services.” 42 U.S.C. 1396d(r)(5). Such

measures include physician services and prescription drugs. 42 U.S.C.

1396d(a)(5)(A) and (12). States must provide all services listed in Section

1396d(a) to EPSDT-eligible beneficiaries when those services are medically

necessary. See Katie A. v. Los Angeles Cnty., 481 F.3d 1150, 1154 (9th Cir. 2007).

      Medicaid’s comparability provision requires, as relevant here, that “the

medical assistance made available to any individual . . . shall not be less in amount,

duration or scope than the medical assistance made available to any other such

individual.” 42 U.S.C. 1396a(a)(10)(B)(i). Medicaid’s comparability requirement

“ensures equitable treatment of beneficiaries.” Garrido, 731 F.3d at 1154.

      3. Florida, like all other States, has chosen to participate in Medicaid. Doc.

246, at 6.1 Florida law requires Medicaid coverage for “services and procedures”



      1
         “Doc. __” refers to documents filed on the district court docket. “Br. __”
refers to Defendants’ opening brief on appeal.
                                        -5-
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 15 of 41



rendered by a licensed physician when “medically necessary for the treatment of

an injury, illness, or disease.” Fla. Stat. § 409.905(9) (2023); see also Fla. Stat.

§ 409.906(20) (2023). To qualify as medically necessary, Florida’s Medicaid

agency, the Agency for Healthcare Administration (AHCA), requires that the

treatment be “consistent with generally accepted professional medical standards as

determined by the Medicaid program, and not experimental or investigational.”

Fla. Admin. Code r. 59G-1.010(2.83) (2017). 2

      B.     Florida’s Coverage Exclusions For “Treatment Of Gender
             Dysphoria” And “Sex-Reassignment Prescriptions Or
             Procedures”

      Until 2022, Florida’s Medicaid program covered puberty-delaying

medications (puberty blockers) for transgender adolescents and hormone therapies

for transgender adolescents and adults. Doc. 246, at 9. “When AHCA considers

providing Medicaid coverage for a type of medical treatment for the first time, it




      2
         AHCA generally considers medical care “experimental” or
“investigational” in four circumstances (Doc. 246, at 7-8 (citing Fla. Admin. Code
r. 59G-1.010(2.46))): (1) when any required approval has not been given by the
Food and Drug Administration (FDA); (2) when the treatment is undergoing
certain clinical trials or being studied to determine safety or efficacy as compared
to the standard treatments; (3) when expert consensus is that further safety or
efficacy studies are needed; or (4) when the treatment is used for a purpose not
approved by the FDA, “meaning the use is not listed in one of three compendia of
off-label uses or supported by peer-reviewed literature” (id. at 8 (citing Fla.
Admin. Code r. 59G-1.010(2.46) and AHCA 30(b)(6) Dep. (Doc. 235-1, at 53-
55))).
                                           -6-
USCA11 Case: 23-12155       Document: 85       Date Filed: 12/04/2023   Page: 16 of 41



sometimes prepares a report on whether the treatment is consistent with generally

accepted professional medical standards—a ‘GAPMS’ report.” Id. at 8.

      In 2016, AHCA prepared a GAPMS report on puberty blockers for

transgender adolescents. It concluded that Medicaid coverage for such treatment

should be available on an individualized basis. Doc. 246, at 8. In 2017, AHCA

staff prepared another GAPMS report, which was never formally adopted,

regarding “treatment of transgender individuals with cross-sex hormones.” Ibid.

That report concluded that such treatment was “consistent with generally accepted

professional medical standards and met the requirements for Medicaid coverage.”

Ibid. (internal quotation marks and citation omitted).

      In 2022, AHCA reversed course. Doc. 246, at 9. While AHCA had

previously issued GAPMS reports only when initially considering a treatment,

“apparently for the first time ever, AHCA elected to prepare another report for

these already-approved treatments.” Ibid. The district court found that the process

was initiated on direction from “the Executive Office of the Governor” and was

driven by political, not medical, considerations. Id. at 9-10.

      The court found that, “from the outset,” the new GAPMS process was a

“biased effort to justify a predetermined outcome, not a fair analysis of the

evidence.” Doc. 246, at 9. While AHCA “ordinarily prepares reports internally,

without retaining consultants,” here, it “retained only consultants known in

                                         -7-
USCA11 Case: 23-12155          Document: 85      Date Filed: 12/04/2023   Page: 17 of 41



advance for their staunch opposition to gender-affirming care.” Ibid. At the end of

this process, AHCA determined that “puberty blockers [and] cross-sex hormones

. . . were not supported by generally accepted medical standards and were instead

experimental.” Id. at 9-10.

          AHCA then adopted Rule 59F-1.050(7), effective August 2022. The rule

states:

          (7) Gender Dysphoria.

                (a) Florida Medicaid does not cover the following services for
                the treatment of gender dysphoria:

                       1. Puberty blockers;
                       2. Hormones and hormone antagonists;
                       3. Sex reassignment surgeries; and
                       4. Any other procedures that alter primary or secondary
                       sexual characteristics.

                (b) For the purpose of determining medical necessity, including
                Early and Periodic Screening, Diagnosis, and Treatment
                (EPSDT), the services listed in subparagraph (7)(a) do not meet
                the definition of medical necessity in accordance with Rule
                59G-1.010, F.A.C.

Fla. Admin. Code r. 59G-1.050(7).

          During trial in this case, SB254 (2023) was enacted and signed into law.

Doc. 246, at 10. Section 3 of SB254 states that Florida “may not expend state

funds . . . for sex-reassignment prescriptions or procedures.” Fla. Stat.

§ 286.311(2) (2023). Section 4 defines “[s]ex-reassignment prescriptions or

procedures” to include “puberty blockers” to “stop or delay normal puberty,”
                                           -8-
USCA11 Case: 23-12155         Document: 85   Date Filed: 12/04/2023    Page: 18 of 41



“hormones or hormone antagonists,” and any “medical procedure, including a

surgical procedure,” “to affirm a person’s perception of his or her sex if that

perception is inconsistent with the person’s sex.” Id. § 456.001(9)(a)(1)-(3)

(2023). “Sex” is defined as “the classification of a person as either male or female

based on the organization of the human body of such person for a specific

reproductive role, as indicated by the person’s sex chromosomes, naturally

occurring sex hormones, and internal and external genitalia present at birth.” Id. §

456.001(8). 3

      C.        Procedural History

      Four Medicaid-eligible Floridians, two adults (ages 20 and 28) and two

minors, all of whom are transgender and seek medical treatment for gender

dysphoria, sued to enjoin enforcement of Rule 59G-1.050(7). Doc. 1. After

Florida passed SB254, plaintiffs filed an amended complaint challenging the

statutory coverage exclusion. Doc. 233. The district court conducted a seven-day

bench trial, featuring extensive expert medical testimony, and ruled in favor of

plaintiffs on each claim. 4



      3
       Challenges to other provisions of SB254 are pending in Doe v. Surgeon
General, No. 23-12159 (11th Cir.).
      4
         The court held that no plaintiff had standing to challenge Florida’s
Medicaid coverage exclusions for gender-affirming surgery, as no plaintiff is
currently seeking such care. Doc. 246, at 13-14.
                                          -9-
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 19 of 41



      1. The district court began with plaintiffs’ equal-protection claim. The

court held that the challenged rule and statute draw lines based on sex:

      Consider an adolescent Medicaid patient . . . that a physician wishes
      to treat with testosterone. . . . To know [whether the treatment is
      covered by Medicaid] one must know the adolescent’s sex. If the
      adolescent is a natal male, the treatment is covered. If the adolescent
      is a natal female, the treatment is not covered. This is a line drawn on
      the basis of sex, plain and simple.

Doc. 246, at 30-31.

      Second, the court found that the rule and statute “draw lines based on

transgender status.” Doc. 246, at 31. The court explained that, to know whether a

Medicaid-eligible minor can be treated with puberty blockers, “one must know

whether the child is cisgender or transgender.” Id. at 32. The court concluded that

the rule and statute also “[d]raw[] line[s] based on gender nonconformity.” Id. at

31 (citing Glenn v. Brumby, 663 F.3d 1312, 1316 (11th Cir. 2011)). Third, the

court held that the adverse treatment of transgender individuals should trigger

heightened scrutiny because they are a “discrete and insular minority.” Doc. 246,

at 32-34.

      While the court determined that heightened scrutiny applied (Doc. 246, at

30-36), it held that the level of review was not dispositive because “the challenged

rule and statute survive neither” intermediate nor rational-basis scrutiny. Id. at 36;

see also id. at 34, 36-51 (discussing the State’s justifications). The court also

reasoned that even an “otherwise neutral law still violates the Equal Protection
                                        - 10 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 20 of 41



Clause when it is ‘motivated by purposeful discrimination.’” Id. at 38 (quoting

Adams v. School Bd. of St. Johns Cnty., 57 F.4th 791, 810 (11th Cir. 2022) (en

banc)). The court found that the rule and statute fail rational-basis review because

“the State’s disapproval of transgender status . . . was a substantial motivating

factor in [their] enactment,” and the State’s justifications for the exclusions are

“largely pretextual.” Id. at 37-38. Accordingly, the court held that plaintiffs

prevailed on their equal-protection claim.

      2. Based on its findings of sex-based line drawing, the district court also

held that “plaintiffs are entitled to prevail” on their Section 1557 sex-

discrimination claim. Doc. 246, at 51.

      3. For the Medicaid claims, the district court applied the framework

established in Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980), which it recognized

as binding authority in this Circuit. Doc. 246, at 14-15. In Rush, a Medicaid

beneficiary challenged Georgia’s refusal to cover gender-affirming surgery, which

the State had characterized as experimental and not medically necessary. 625 F.2d

at 1152-1153. The Fifth Circuit remanded to the district court to determine, first,

whether the State had a policy prohibiting payments for experimental treatments,

and second, “whether its determination that transsexual surgery is experimental is

reasonable.” Id. at 1156-1157. Rush explained that the reasonableness




                                         - 11 -
USCA11 Case: 23-12155         Document: 85    Date Filed: 12/04/2023    Page: 21 of 41



determination on remand would be controlled by “current medical opinion.” Id. at

1157 n.13.

       As in Rush, Florida has a pre-existing policy of providing coverage only for

“medically necessary” services, which excludes experimental treatments. Doc.

246, at 7-8 (citation omitted). Thus, the district court found the second question

controlling—whether Florida’s determination that the excluded treatments are

experimental is reasonable. Id. at 15. Informed by the extensive trial record, the

court held it is not. Ibid.

       Based on the trial record, the court concluded that plaintiffs are entitled to

prevail on their EPSDT claim for eligible beneficiaries under age 21 “because the

treatments at issue comport with the standards of care for their medical conditions

and there are no alternative, equally effective treatments.” Doc. 246, at 51-52. As

to the comparability claim, the court found that “cisgender Medicaid beneficiaries

are covered for the same puberty blockers and hormones at issue.” Id. at 52. The

court stated that it does not matter that “cisgender patients receive the drugs for a

different diagnosis” than transgender patients because “federal law prohibits a state

from denying or reducing a Medicaid-eligible patient’s required services ‘solely

because of the diagnosis, type of illness, or condition.’” Ibid. (quoting 42

C.F.R. 440.230(c)). The court reasoned that “denying coverage for an illness




                                         - 12 -
USCA11 Case: 23-12155         Document: 85     Date Filed: 12/04/2023   Page: 22 of 41



suffered only or primarily by a disfavored group is the very paradigm of prohibited

discrimination based on diagnosis.” Ibid.

      Accordingly, the court declared that Florida Statute § 286.311(2) and Florida

Administrative Code rule 59G-1.050(7) are invalid to the extent they categorically

bar Medicaid coverage of puberty blockers and hormone therapies to treat gender

dysphoria. Doc. 246, at 53.

      4. The district court issued a permanent injunction and a final judgment.

Doc. 246, at 53-54; Doc. 247.

                           SUMMARY OF ARGUMENT

      1. This Court should affirm the judgment that Florida’s coverage exclusions

for the gender-affirming care at issue here violate Medicaid’s EPSDT and

comparability requirements. The district court did not clearly err in finding, based

on expert testimony and the extensive trial record, that Florida unreasonably

determined that puberty blockers and hormone therapies are experimental for

treatment of gender dysphoria.

      2. This Court should likewise affirm the judgment that the challenged

coverage exclusions violate Section 1557 of the ACA. The district court correctly

determined that the challenged exclusions discriminate on the basis of sex and

transgender status in violation of that statute.




                                         - 13 -
USCA11 Case: 23-12155       Document: 85      Date Filed: 12/04/2023    Page: 23 of 41



      3. This Court need not reach plaintiffs’ equal-protection claim if it

invalidates the coverage exclusions on either or both statutory grounds. But if it

reaches the claim, the Court should remand for further factfinding regarding

whether the statutory exclusion was enacted in part with a discriminatory purpose.

                                   ARGUMENT

I.    The district court correctly held that the challenged coverage exclusions
      violate the Medicaid Statute.

      Before 2022, Florida’s Medicaid program covered puberty blockers and

hormone therapies for treatment of gender dysphoria. Florida’s abrupt reversal in

2022, prohibiting coverage of these drugs solely when used by transgender people

to treat gender dysphoria, was made without any material change in AHCA’s

regulations regarding what constitutes medical necessity, the criteria for

determining generally accepted standards of care, or the factors defining

experimental treatments. See Doc. 246, at 7 (citing Fla. Admin. Code r. 59G-

1.01(2.83); Fla. Admin. Code r. 59G-1.01(2.46)). Nor was Florida’s withdrawal of

coverage the result of developments in medical literature or clinical practice.

Instead, as the district court found, treating gender dysphoria with these

medications remains consistent with widely accepted standards of care. Id. at 16-

21.

      The district court correctly held, based on the trial record, that by

categorically barring coverage for puberty blockers and hormone therapies when
                                        - 14 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 24 of 41



used to treat gender dysphoria, Florida violated Medicaid’s EPSDT and

comparability requirements.

      A.     The challenged coverage exclusions violate Medicaid’s EPSDT
             requirement.

      Under Medicaid’s EPSDT requirement, States must cover services described

in 42 U.S.C. 1396d(a) if “necessary . . . to correct or ameliorate” health conditions

in EPSDT-eligible beneficiaries under age 21. 42 U.S.C. 1396d(r)(5),

1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B); see, e.g., Moore v. Reese, 637

F.3d 1220, 1233-1234 (11th Cir. 2011). “The EPSDT obligation is thus extremely

broad.” Katie A. v. Los Angeles Cnty., 481 F.3d 1150, 1154 (9th Cir. 2007).

      As Florida notes, federal law does not require coverage of treatments that are

unsafe, ineffective, or experimental. Br. 37-38. But Florida is not the sole arbiter

of those judgments under the Medicaid statute. As this Court recognized, while

Congress “could have conferred the ‘final arbiter’ role to the state, it did not.”

Moore, 637 F.3d at 1259. Instead, “[w]hen a state Medicaid agency has exceeded

the bounds of its authority by adopting an unreasonable definition of medical

necessity . . . , aggrieved Medicaid recipients have recourse in the courts.” Ibid.

Courts have routinely held that categorical exclusions of medically necessary care




                                         - 15 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023    Page: 25 of 41



otherwise allowable under the Medicaid statute violate the EPSDT requirement. 5

      In evaluating plaintiffs’ EPSDT claim, the district court correctly relied on

Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980). Doc. 246, at 14-15. Florida

agrees this is the correct framework. Br. 37. 6 Under Rush, the determinative

question is whether, “based on current medical opinion,” Florida could

“reasonabl[y]” conclude that puberty blockers and hormone therapies are

“experimental” treatments for gender dysphoria. 625 F.2d at 1157 & n.13.

      Based on the extensive trial record, the court did not clearly err in finding

that Florida’s determination was not reasonable. Doc. 246, at 15. In making this

finding, the court relied on AHCA’s own standards for determining when a



      5
         See, e.g., S.D. v. Hood, 391 F.3d 581, 597 (5th Cir. 2004) (holding
unlawful Louisiana’s denial of coverage for medically necessary incontinence
supplies to EPSDT-eligible beneficiaries); Collins v. Hamilton, 349 F.3d 371, 376
(7th Cir. 2003) (holding unlawful Indiana’s denial of coverage for psychiatric
residential treatment for EPSDT-eligible beneficiaries); Pediatric Specialty Care,
Inc. v. Arkansas Dep’t of Human Servs., 293 F.3d 472, 480 (8th Cir. 2002)
(holding unlawful Arkansas’s denial of coverage for early-intervention day
treatment to EPSDT-eligible beneficiaries); Pereira v. Kozlowski, 996 F.2d 723,
727 (4th Cir. 1993) (holding unlawful Virginia’s denial of coverage for medically
necessary organ transplants to EPSDT-eligible beneficiaries); cf. Weaver v.
Reagen, 886 F.2d 194, 200 (8th Cir. 1989) (holding unlawful Missouri’s denial of
coverage for off-label AZT treatment to Medicaid beneficiaries with HIV because
based on an unreasonably broad definition of “experimental” treatment).
      6
          Rush involved the “reasonable standards” provision of the Medicaid
statute, 42 U.S.C. 1396a(a)(17). Rush nonetheless provides the correct framework
for both Medicaid claims here because the core issue is whether Florida reasonably
determined that the care at issue is experimental for transgender people of all ages.
                                        - 16 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023    Page: 26 of 41



treatment is “experimental” or “investigational.” Id. at 7. Rather than being

experimental, the court found that “[t]he overwhelming weight of medical

authority supports treatment of transgender patients with [puberty blockers] and

cross-sex hormones in appropriate circumstances” (id. at 18), as part of the “widely

accepted standard of care” (id. at 52). The court highlighted the long list of

medical organizations supporting this care, including the American Academy of

Pediatrics and the American Medical Association, and emphasized that, as far as

the record reflected, “not a single reputable medical association has taken a

contrary position.” Id. at 18-19.

      The court acknowledged that these medications have “attendant risks” but

found that benefits from treatment can outweigh those risks. Doc. 246, at 20. The

court thus found that the “clinical evidence would support, though certainly not

mandate, a decision by a reasonable patient and parent, in consultation with

properly trained practitioners,” to use puberty blockers “at or near the onset of

puberty and to use cross-sex hormones later” to treat gender dysphoria. Id. at 21.

The court further found that “[t]he record includes no evidence that these

treatments have caused substantial adverse clinical results in properly screened and

treated patients.” Ibid.

      In making these findings, the court relied on expert “testimony of well-

qualified doctors who have treated thousands of transgender patients with [puberty

                                        - 17 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023    Page: 27 of 41



blockers] and cross-sex hormones over their careers and have achieved excellent

results.” Doc. 246, at 21. The court noted that even one of defendants’ own

experts “testified that treatment with [puberty blockers] and cross-sex hormones is

sometimes appropriate,” and that he would not ban such treatments. Id. at 20.

      Because the district court did not clearly err in finding that Florida’s

characterization of these treatments as experimental is not reasonable, this Court

should affirm that the exclusions violate the EPSDT requirement.

      B.     The challenged coverage exclusions violate Medicaid’s
             comparability requirement.

      The district court also correctly held that the challenged coverage exclusions

violate Medicaid’s comparability requirement, 42 U.S.C. 1396a(a)(1)(B)(i). Doc.

246, at 52. Under this requirement, all services available to any categorically

needy beneficiary (with exceptions inapplicable here) must be “equal in amount,

duration, and scope” as those available to other such beneficiaries. 42 C.F.R.

440.240(b). The comparability requirement thus “prohibits discrimination among

individuals with the same medical needs stemming from different medical

conditions.” Flack v. Wisconsin Dep’t of Health Servs., 395 F. Supp. 3d 1001,

1018 (W.D. Wis. 2019) (alteration and citations omitted). The purpose of this

requirement is to “ensure[] equitable treatment” of Medicaid beneficiaries.

Garrido v. Dudek, 731 F.3d 1152, 1154 (11th Cir. 2013). In addition, a state

Medicaid program “may not arbitrarily deny or reduce the amount, duration, or
                                        - 18 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023   Page: 28 of 41



scope of a required service . . . to an otherwise eligible beneficiary solely because

of the diagnosis, type of illness, or condition.” 42 C.F.R. 440.230(c).

      A State violates the comparability requirement when it denies medical

benefits to some individuals that it provides to others “simply by defining such

services . . . as aimed at treating only some medical conditions.” Davis v. Shah,

821 F.3d 231, 257-258 (2d Cir. 2016). Multiple courts have held that categorical

exclusions of gender-affirming care violate Medicaid’s comparability requirement.

See Pinneke v. Preisser, 623 F.2d 546, 549 (8th Cir. 1980); Flack v. Wisconsin

Dep’t of Health Servs., 395 F. Supp. 3d 1001, 1019 (W.D. Wis. 2019); Fain v.

Crouch, 618 F. Supp. 3d 313, 333-334 (S.D. W. Va. 2022), appeal pending, No.

22-1927 (4th Cir. docketed Sept. 6, 2022), reh’g en banc granted (4th Cir. Apr. 12,

2023) (argued Sept. 21, 2023).

      It is undisputed that Florida provides Medicaid coverage for puberty

blockers and hormone therapies when needed to treat conditions other than gender

dysphoria. Defendants nonetheless argue the comparability claim fails because the

efficacy of a treatment for one condition says nothing about its efficacy for a

different condition. Br. 39. Florida misses the point. To be sure, federal law

allows Florida to “place appropriate limits on a service based on such criteria as

medical necessity,” 42 C.F.R. 440.230(d), and Florida has done so, Fla. Stat.




                                        - 19 -
USCA11 Case: 23-12155        Document: 85      Date Filed: 12/04/2023   Page: 29 of 41



§§ 409.905, 409.906.7 But here, as the district court correctly found based on the

record before it, Florida unreasonably made a categorical determination that the

treatments at issue for gender dysphoria are experimental as to both adolescents

and adults and thus can never been medically necessary. Doc. 246, at 15-21.

      Under federal law, Florida may not impose such a categorical bar that is

based on diagnosis. See White v. Beal, 555 F.2d 1146, 1152 (3d Cir.

1977) (explaining that Medicaid “regulations permit discrimination in benefits

based upon the degree of medical necessity but not upon the medical disorder from

which the person suffers”). As the Third Circuit has explained, “nothing in the

[Medicaid statute] permits discrimination based upon etiology rather than need for

the service.” Id. at 1151 (enjoining a Pennsylvania Medicaid policy that covered

glasses for eye disease, but not for refractive errors).

      This Court should thus affirm the district court’s determination that

defendants violated Medicaid’s comparability requirement.

II.   The district court correctly held that the challenged coverage exclusions
      violate Section 1557 of the ACA.

      The district court correctly ruled that Florida’s coverage exclusions violate

Section 1557 of the ACA. Doc. 246, at 51. Section 1557 prohibits


      7
         Under state law, to be medically necessary and covered by Florida
Medicaid, a treatment must be ‘“individualized [and] specific,’ ‘not in excess of
the patient’s needs,’ and ‘not experimental.’” Garrido, 731 F.3d at 1155 (quoting
Fla. Admin. Code r. 59G-1.010(166)(a)).
                                       - 20 -
USCA11 Case: 23-12155        Document: 85      Date Filed: 12/04/2023    Page: 30 of 41



“discrimination” by recipients of federal financial assistance “on the ground

prohibited under . . . title IX.” 42 U.S.C. 18116(a). Under Title IX, “[n]o person

. . . shall, on the basis of sex, . . . be subjected to discrimination.” 20 U.S.C. 1681.

Therefore, as under Title IX, Section 1557 “prohibits discrimination . . . on the

basis of sex.” Doe v. CVS Pharm., Inc., 982 F.3d 1204, 1208 (9th Cir. 2020).

Multiple courts rightly have held that categorical coverage exclusions for gender-

affirming care violate Section 1557’s prohibition on sex discrimination.8

      A.     The challenged exclusions facially discriminate on the basis of sex.

      Under the challenged exclusions, a Medicaid beneficiary’s sex assigned at

birth determines whether they can access hormone therapies and puberty blockers.

The challenged rule explicitly and categorically precludes Medicaid coverage for

“services for the treatment of gender dysphoria,” including “[s]ex reassignment


      8
          See C.P. v. Blue Cross Blue Shield, No. 3:20-cv-06145, 2022 U.S. Dist.
LEXIS 227832, at *16 (W.D. Wash. Dec. 19, 2022) (holding that administration of
a coverage exclusion “based on transgender status was discrimination ‘on the basis
of sex’”); Fain, 618 F. Supp. 3d at 327 (holding that exclusion of gender-affirming
care “precludes a specific treatment that is connected to a person’s sex and gender
identity”); Kadel v. Folwell, No. 1:19-cv-272, 2022 U.S. Dist. LEXIS 218104, at
*8 (M.D.N.C. Dec. 5, 2022) (holding that exclusion of gender-affirming care
“facially discriminates on the basis of sex and transgender status”); Fletcher v.
Alaska, 443 F. Supp. 3d 1024, 1027, 1030 (D. Alaska 2020) (“[D]efendant’s policy
of excluding coverage for medically necessary surgery” based on sex assigned at
birth “is . . . sex discrimination.”); Flack, 395 F. Supp. 3d at 1015 (holding that
“the Challenged Exclusion [of gender-affirming care] discriminates on the basis of
sex”); Boyden v. Conlin, 341 F. Supp. 3d 979, 997 (W.D. Wis. 2018) (“[T]he
Exclusion on its face treats transgender individuals differently on the basis of
sex.”).
                                           - 21 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023   Page: 31 of 41



surgeries” and any “procedures that alter primary or secondary sexual

characteristics.” Fla. Admin. Code. r. 59G-1.050(7)(a) (2022) (emphases added).

Likewise, the statutory exclusion prohibits the use of state funds “for [s]ex-

reassignment prescriptions or procedures,” Fla. Stat. § 286.311(2) (2023)

(emphasis added), which it defines as any procedure “to affirm a person’s

perception of his or her sex if that perception is inconsistent with the person’s sex

[assigned at birth].” Id. § 456.001(9)(a)(1)-(3) (emphasis added). As the district

court explained, whether a Medicaid beneficiary can access a treatment such as

testosterone depends on the patient’s sex assigned at birth. If the beneficiary is “a

natal male, the treatment is covered.” Doc. 246, at 30. But if the beneficiary “is a

natal female, the treatment is not covered.” Id. at 31. As the court correctly

concluded, “[t]his is a line drawn on the basis of sex, plain and simple.” Ibid.

      In crafting the challenged exclusions, Florida could not “writ[e] out

instructions” to identify when the medications at issue are excluded from coverage

“without using the words man, woman, or sex (or some synonym).” Bostock v.

Clayton Cnty., 140 S. Ct. 1731, 1746 (2020). Because the challenged exclusions

“cannot be stated without referencing sex,” they are “inherently based upon a sex-

classification.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858

F.3d 1037, 1047-1048, 1051 (7th Cir. 2017) (finding a sex-based classification

under the Equal Protection Clause and Title IX); accord A.C. v. Metropolitan Sch.

                                        - 22 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023   Page: 32 of 41



Dist. of Martinsville, 75 F.4th 760, 772 (7th Cir. 2023) (same), pet. for cert.

pending, No. 23-392 (filed Oct. 11, 2023); Grimm v. Gloucester Cnty. Sch. Bd.,

972 F.3d 586, 608, 616-617 (4th Cir. 2020) (same), cert. denied, 141 S. Ct. 2878

(2021).

      B.     The challenged exclusions discriminate based on sex by targeting
             transgender persons.

      In addition, and as the district court also correctly held, the challenged

exclusions discriminate based on sex because they discriminate based on

transgender status. Doc. 246, at 32. “[I]t is impossible to discriminate against a

person for being . . . transgender without discriminating against that individual

based on sex.” Bostock, 140 S. Ct. at 1741. The challenged rule singles out a

diagnosis that only transgender people can receive—“treatment of gender

dysphoria”—as the basis for refusing coverage. Fla. Admin. Code r. 59G-

1.050(7). The statute likewise directly targets transgender people by prohibiting

coverage for “sex-reassignment prescriptions or procedures.” Fla. Stat.

§ 286.311(2) (2023). By targeting transgender persons, the exclusions

“unavoidably discriminate[] against persons with one sex identified at birth” but

who identify with a different sex “today.” Bostock, 140 S. Ct. at 1746.

      Finally, as the district court also correctly recognized, the exclusions

discriminate against transgender people based on gender nonconformity. Doc.

246, at 31 (citing Glenn v. Brumby, 663 F.3d 1312, 1316 (11th Cir. 2011)).
                                        - 23 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023   Page: 33 of 41



      C.     The district court’s Section 1557 holding is not at odds with
             Eknes-Tucker or Adams.

      This Court’s subsequent decision in Eknes-Tucker v. Governor of Alabama,

80 F.4th 1205 (11th Cir. 2023), pet. for reh’g en banc pending (filed Sept. 11,

2023), does not undercut the district court’s Section 1557 ruling. Eknes-Tucker

held that the challenged Alabama statute, which banned gender-affirming medical

treatments for minors, does not discriminate based on sex in violation of the Equal

Protection Clause because it “does not establish an unequal regime for males and

females,” as no minor of any sex can obtain transitioning medications. Id. at 1228.

It also dismissed the statute’s use of sex-based terminology to describe the

procedures it prohibits because “the medical procedures that it regulates . . . are

themselves sex-based,” rendering the use of such terminology unavoidable. Ibid.

      The Eknes-Tucker panel reached these conclusions because it declined to

apply Bostock’s understanding of sex discrimination to the Equal Protection

Clause. 80 F.4th at 1229. Because of the “materially different language” and the

“different factual context,” the panel believed that Bostock had “minimal

relevance” to the equal-protection challenge to Alabama’s ban on gender-affirming

care. Ibid. But that reasoning does not apply here. Section 1557, through its

incorporation of Title IX’s prohibition on sex discrimination, contains similar

language to Title VII. Indeed, the Supreme Court has “looked to its Title VII

interpretations of discrimination in illuminating Title IX.” Olmstead v. L.C., 527
                                        - 24 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023   Page: 34 of 41



U.S. 581, 617 n.1 (1999) (citing Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S.

60, 75 (1992)). Courts frequently interpret Title IX by reference to Title VII

caselaw. 9

      The Supreme Court has emphasized that Title VII must be understood as

“focus[ing] on individuals rather than groups.” Bostock, 140 S. Ct. at 1741. Like

Title VII, which prohibits discrimination against “any individual,” 42 U.S.C.

2000e-2(a)(1), Title IX states that “[n]o person” shall be discriminated against “on

the basis of sex,” 20 U.S.C. 1681. And Section 1557 prohibits “an individual”

from being subjected to discrimination. 42 U.S.C. 18116(a). Section 1557 thus

requires no showing of group-based inequality between “males and females.” Cf.

Eknes-Tucker, 80 F.4th at 1228. Nor is this a case where a coverage exclusion

applies across-the-board to certain procedures that inherently reference “sex.”

Instead, Florida’s exclusions target transgender people and prevent them, because

of their sex assigned at birth, from receiving care available to other Medicaid

beneficiaries.




      9
        See Franklin, 503 U.S. at 75 (citing Meritor Sav. Bank, FSB v. Vinson,
477 U.S. 57 (1986), a Title VII case, in analyzing a Title IX claim); see also
Vengalatorre v. Cornell Univ., 36 F.4th 87, 103 (2d Cir. 2022); Doe v. Boyertown
Area Sch. Dist., 897 F.3d 518, 535 n.103 (3d Cir. 2018); Lakoski v. James, 66 F.3d
751, 756 (5th Cir. 1995); Fuhr v. Hazel Park Sch. Dist., 710 F.3d 668, 673 (6th
Cir. 2013); Wolfe v. Fayetteville, Ark. Sch. Dist., 648 F.3d 860, 866 (8th Cir.
2011); Grabowski v. Arizona Bd. of Regents, 69 F.4th 1110, 1116 (9th Cir. 2023).
                                         - 25 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023    Page: 35 of 41



      Finally, the district court’s Section 1557 ruling is not inconsistent with this

Court’s decision in Adams v. School Board of St. Johns County, 57 F.4th 791 (11th

Cir. 2022) (en banc). The en banc Court agreed that the challenged policy in

Adams involved a sex-classification, but held that it did not violate Title IX

because of “statutory and regulatory carve-outs” “differentiating between the sexes

when it comes to separate living and bathroom facilities, among others.” Id. at

811. But Section 1557 has no carve-outs that allow discrimination in a State’s

Medicaid program. Because the medications at issue are covered by Florida

Medicaid except when used by transgender people for treatment of gender

dysphoria, the district court was correct in finding that the exclusions discriminate

based on sex in violation of Section 1557. Doc. 246, at 51. 10



      10
         The district court’s judgment is also consistent with HHS’s post-Bostock
understanding of prohibited sex discrimination under Section 1557. In August
2022, HHS issued a notice of proposed rulemaking clarifying that under Section
1557, “discrimination on the basis of sex includes . . . gender identity.”
Nondiscrimination in Health Programs and Activities, 87 Fed. Reg. 47,916
(§ 92.101(a)(2)) (proposed Aug. 4, 2022); see also id. at 47,857-47,859.

      To be sure, the proposed rule states that “[n]othing in this section requires
coverage of any health service where the covered entity has a legitimate,
nondiscriminatory reason for determining that such health service fails to meet
applicable coverage requirements, such as medical necessity requirements, in an
individual case.” 87 Fed. Reg. at 47,918 (§ 92.207(c)). But, as relevant here, the
proposed rule provides that “[a] covered entity must not, in providing or
administering health insurance coverage or other health-related coverage . . . have
or implement a categorical coverage exclusion or limitation for all health services

                                        - 26 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 36 of 41



III.   If the Court reaches the equal-protection issue, it should remand for
       additional factfinding on whether SB254 was enacted with a
       discriminatory purpose.

       If this Court affirms the district court’s invalidation of the challenged

exclusions on either or both statutory grounds, it need not reach plaintiffs’ equal-

protection claim. Although, in our view, Eknes-Tucker was wrongly decided, it

does not foreclose the equal-protection claim here. See Eknes-Tucker v. Governor

of Ala., 80 F.4th 1205, 1229-1230 (11th Cir. 2023). Instead, if this Court reaches

the issue, it should remand for further factfinding regarding whether Florida acted

with a discriminatory purpose in enacting the statutory exclusion. The district

court found that “[t]he rule and statute . . . were motivated in substantial part by the

plainly illegitimate purposes of disapproving transgender status and discouraging

individuals from pursuing their honest gender identities. This was purposeful

discrimination against transgender[]” persons. Doc. 246, at 38. Both Eknes-

Tucker and Adams reaffirm that state action motivated by purposeful

discrimination can violate the Equal Protection Clause. See Eknes-Tucker, 80




related to gender transition or other gender-affirming care.” Ibid. (§ 92.207(b) and
(b)(4)).

       HHS anticipates issuing a final rule in the coming months following
completion of the notice-and-comment rulemaking process. In any case,
categorical coverage exclusions of gender-affirming care are inconsistent with the
statute itself.
                                        - 27 -
USCA11 Case: 23-12155          Document: 85     Date Filed: 12/04/2023   Page: 37 of 41



F.4th at 1230; Adams v. St. Johns Cnty., 57 F.4th 791, 810 (11th Cir. 2022) (en

banc).

         Discriminatory intent is a “pure question of fact,” reversible only for clear

error. Rogers v. Lodge, 458 U.S. 613, 622-623 (1982) (quoting Pullman-Standard

v. Swint, 456 U.S. 273, 287-288 (1982); cf. Cooper v. Harris, 581 U.S. 285, 309

n.8 (2017) (noting that the presumption of good faith is not the equivalent of a

“super-charged, pro-State presumption on appeal, trumping clear-error review”).

At trial, plaintiffs asserted that the challenged rule was motivated by purposeful

discrimination and offered support for that finding under the traditional Arlington

Heights framework. Doc. 199, at 139. But trial was already underway when they

amended their complaint to challenge the newly passed statutory exclusion. Doc.

233. Florida argues that the district court erred by failing to accord SB254 a

presumption of good faith and adds that the court “never considered[] any

Arlington Heights evidence related to [SB254].” Br. 34-35. While that is untrue—

as evidence relating to the GAPMS process and rulemaking are also relevant to the

statute’s enactment—it is correct that the court did not make specific, separate

factual findings about SB254’s legislative process.

         But that is unsurprising. The district court had no reason, especially before

this Court’s decision in Eknes-Tucker, to rely primarily on discriminatory

legislative intent to invalidate the statutory coverage exclusion. Thus, if this Court

                                          - 28 -
USCA11 Case: 23-12155        Document: 85     Date Filed: 12/04/2023    Page: 38 of 41



reaches the equal-protection claim and is not persuaded that the exclusions fail the

applicable level of scrutiny, it should issue a limited remand for additional

factfinding as to the legislative process to enable appellate review of the district

court’s findings of invidious purpose. Cf. Fils v. City of Aventura, 647 F.3d 1272,

1280 (11th Cir. 2011) (noting a prior limited remand where the district court was

instructed to set forth the complete factual basis for its decision to deny qualified

immunity).




                                         - 29 -
USCA11 Case: 23-12155       Document: 85     Date Filed: 12/04/2023       Page: 39 of 41



                                 CONCLUSION

      For the foregoing reasons, this Court should affirm the district court’s final

judgment and injunction.

                                                Respectfully submitted,

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                                       - 30 -
USCA11 Case: 23-12155       Document: 85    Date Filed: 12/04/2023   Page: 40 of 41



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